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                       EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



FRANK CARBONE, ANDREW CORZO,
SAVANNAH ROSE EKLUND, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLENDER, BRANDON PIYEVSKY, KARA
SAFFRIN, and BRITTANY TATIANA WEAVER,                        Case No. 1:22-cv-00125
individually and on behalf of all others similarly situated,

                                    Plaintiffs,
                                                          Hon. Matthew F. Kennelly
                             v.

BROWN UNIVERSITY, CALIFORNIA INSTITUTE                    [PROPOSED] ORDER
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,                     REGARDING PRODUCTION
THE TRUSTEES OF COLUMBIA UNIVERSITY IN                    OF ELECTRONICALLY
THE CITY OF NEW YORK, CORNELL                             STORED INFORMATION
UNIVERSITY, TRUSTEES OF DARTMOUTH                         AND PAPER DOCUMENTS
COLLEGE, DUKE UNIVERSITY, EMORY
UNIVERSITY, GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,


                             Defendants.




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       This Order Regarding Production Of Electronically Stored Information And Paper

Documents (“ESI Protocol Order”) shall govern the Parties in the above-captioned case whether

they currently are involved or become so in the future, and any related actions that may later be

consolidated with this case (collectively, the “Litigation”).

       Nothing in this ESI Protocol Order shall be construed to affect the admissibility of

discoverable information. Pursuant to the terms of this ESI Protocol Order, information

regarding search process and electronically stored information (“ESI”) practices may be

disclosed, but compliance with this ESI Protocol Order does not constitute a waiver, by any

Party, of any objection to the production or admissibility of particular ESI, nor does it constitute

a waiver of any right to discovery by any Party. For the avoidance of doubt, a Party’s compliance

with this ESI Protocol Order will not be interpreted to require disclosure of irrelevant

information or information protected by the attorney-client privilege, the work product doctrine,

the joint defense privilege, or any other applicable privilege. This Order should be read together

with and interpreted in light of the Order Regarding FERPA and the Production of Certain

Documents and Information (Dkt. 231).

I.     GENERAL PROVISIONS

       A.      Applicability: This ESI Protocol Order will govern the production of ESI and

               paper documents. To the extent that a Party collected and processed documents

               prior to the entry of this ESI Protocol Order, and the production of such

               documents cannot be made in accordance with the terms of this ESI Protocol

               Order, the Parties will meet and confer concerning the potential formats of the

               production of any such documents.




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     B.    Deadlines: References to schedules and deadlines in this ESI Protocol Order shall

           comply with Fed. R. Civ. P. 6 with respect to computing deadlines.

     C.    ESI Liaisons:

           1.     Designation: Plaintiffs, collectively, and each Defendant agrees to

                  designate an ESI Liaison within 7 days after entry of this ESI Protocol

                  Order. Any Party is free to change its designated ESI Liaison by providing

                  written notice to the other Parties.

           2.     Duties of ESI Liaison: Each ESI Liaison will be prepared to participate

                  in the resolution of any e-discovery disputes or ESI issues that may arise

                  (or designate another person as primarily responsible) and have access to

                  personnel most knowledgeable about the Party's electronic systems and

                  capabilities in order to, as appropriate, answer pertinent questions.

           3.     Time Frame for ESI Issue Resolution: Each ESI Liaison will

                  acknowledge receipt of an ESI-related inquiry from another ESI Liaison

                  within 3 business days after the initial inquiry and respond within a

                  reasonable time in light of the scope of the request.

     D.    Definitions:

           1.     Plaintiffs and Defendants are referred to as the “Parties” solely for the

                  purposes of this ESI Protocol Order.

           2.     “Plaintiffs” as used herein shall mean the individual plaintiffs named in

                  the Amended Complaint, and does not include the absent class members

                  (ECF No. 106).




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           3.     “Defendants” as used herein shall mean the Defendants named in the

                  Amended Complaint (ECF No. 106).

     E.    Confidential Information: For the avoidance of doubt, nothing herein shall

           contradict the Parties’ rights and obligations with respect to any information

           designated as confidential under the Confidentiality Order to be entered by the

           Court (the “Confidentiality Order”).

     F.    Preservation: The Parties are not required to preserve the following forms of

           electronically stored information for purposes of the Litigation, provided that the

           Parties shall take reasonable steps to preserve all information known to them to be

           relevant to this action, and provided further than nothing in this Order shall be

           construed as permitting any Party to destroy responsive information that would

           not otherwise be destroyed in the ordinary course of business:

           1.     random access memory (“RAM”) and temporary files;

           2.     online access data, such as temporary internet files, histories, caches, and
                  cookies;

           3.     public-facing websites other than financial aid and admissions websites;

           4.     data in metadata fields other than those specified in Appendix 1;

           5.     data housed on emergency back-up systems;

           6.     damaged or slack data;

           7.     data stored on photocopiers, scanners, and fax machines;

           8.     voicemail data other than emails and transcripts of voicemails;

           9.     operating system files and executable files; and

           10.    server, system, network, and/or software application logs.




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II.   GENERAL PRODUCTION FORMAT PROTOCOLS

      A.    TIFFs: Except for structured data, all production images will be provided as

            black-and-white, single-page Group IV TIFFs of at least 300 DPI resolution with

            corresponding multi-page text and necessary load files. Each image will have a

            file name that is the unique Bates number of that image, pursuant to ¶ III. Original

            document orientation should be maintained to the extent reasonably practicable

            and technologically possible for a producing Party’s vendor (i.e., portrait to

            portrait and landscape to landscape). Hidden content, tracked changes, edits,

            comments, notes, and other similar information viewable within the native file

            shall, (1) to the extent reasonably practicable, also be imaged so that this

            information is captured on the produced image file, and (2) if such imaging is not

            reasonably practicable, be produced in native format. Documents that are difficult

            to render in TIFF may be produced in their native format with a placeholder TIFF

            image stating “Document Produced Natively.” A producing Party retains the

            option to produce ESI in alternative formats if so agreed by the requesting Party,

            which may include native format or a combination of native and TIFF formats.

      B.    Text Files: Each ESI item produced under this ESI Protocol Order shall be

            accompanied by a text file as set out below. All text files shall be provided as a

            single document level text file for each item, not one text file per page. Each text

            file shall be named with the Bates number of the first page of the corresponding

            production item. Text files shall contain any hidden content, tracked changes,

            edits, comments, notes, and other similar information of the ESI item.




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           1.     OCR: A producing Party may make paper documents available for

                  inspection and copying/scanning in accordance with Fed. R. Civ. P. 34 or,

                  additionally or alternatively, scan and OCR paper documents if it chooses.

                  Where OCR is used, the Parties will take reasonable steps to generate

                  accurate OCR. The Parties acknowledge that, due to poor quality of the

                  originals, not all documents lend themselves to the generation of accurate

                  OCR. In such instances, or in the event that a producing Party does not

                  choose to use OCR at all, the producing Party will either (a) make the

                  paper documents available for inspection and copying in accordance with

                  Fed. R. Civ. P. 34, or (b) identify in the load file that the file is not OCR.

           2.     ESI: Emails and other ESI will be accompanied by extracted text taken

                  from the electronic file itself, where available.

     C.    Production of Native Items: The Parties agree that ESI shall be produced as

           single-page TIFFs with an accompanying load file, which will contain, among

           other data points, the ESI data points listed in Appendix 1 hereto. The exception

           to this rule shall be spreadsheet-application files (e.g., Microsoft Excel, csv, and

           other structured data files), databases (e.g., Microsoft Access), and multimedia

           audio/visual files, such as voice and video recordings (e.g., .wav, .mpeg, and .avi)

           which shall be produced in native format. In the case of personal database (e.g.,

           Microsoft Access, SQL, .dat, .db, .dbf, .log, or similar database file extensions)

           files containing confidential or privileged information, the Parties shall meet and

           confer to determine the appropriate form of production. In addition to producing

           the above file types in native format, the producing Party shall produce a single-




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           page TIFF slip sheet indicating that a native item was produced. The

           corresponding load file shall include NativeFileLink information for each native

           file that is produced. The Parties agree to meet and confer to the extent that there

           is data in database application files, such as SQL and SAP, to determine the best

           reasonable form of production of usable data. Through the pendency of the

           Litigation, the producing Party shall exercise reasonable, good faith efforts to

           maintain all preserved and produced native files in a manner that does not

           materially alter or modify the file or the metadata.

     D.    Requests for Other Native Files: Other than as specifically set forth above, a

           producing Party need not produce documents in native format. If a Party would

           like a particular document produced in native format and this ESI Protocol Order

           does not require the production of that document in its native format, the Party

           making such a request shall explain the reason for its request that the document be

           produced in its native format, which the producing Party will consider in good

           faith. The requesting Party will provide a specific Bates range for documents it

           wishes to be produced in native format. Any native files that are produced should

           be produced with a link in the NativeLink field, along with all extracted text and

           applicable metadata fields set forth in Appendix 1.

     E.    Bates Numbering:

           1.     All images must be assigned a Bates number that must always: (1) be

                  unique across the entire document production, (2) maintain a constant

                  prefix and length (e.g., ten-digits and 0-padded) across the entire

                  production, (3) contain no special characters or embedded spaces, except




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                  hyphens or underscores, (4) be sequential within a given document, and

                  (5) identify the producing Party. To the extent reasonably practicable, the

                  Bates number must also maintain consistent numbering across a family of

                  documents.

           2.     If a Bates number or set of Bates numbers is skipped in a production, the

                  producing Party will so note in a cover letter or production log

                  accompanying the production.

           3.     To the greatest extent practicable, the producing Party will brand all TIFF

                  images at a location that does not obliterate or obscure any part of the

                  underlying images.

     F.    Parent-Child Relationships: Parent-child relationships (the association between

           an attachment and its parent document) that have been maintained in the ordinary

           course of business should be preserved to the extent reasonably practicable. For

           example, if a Party is producing a hard copy printout of an e-mail with its

           attachments, the attachments should be processed in order behind the e-mail to the

           extent reasonably practicable. The family of documents should also be identified

           using a family ID number or other unique identifying number.

     G.    Non-Responsive Attachments: Non-responsive parent documents must be

           produced if they contain a responsive attachment and are not withheld as

           privileged. Non-responsive attachments to responsive parent documents need not

           be produced. A Bates-numbered placeholder will be provided for any document

           withheld pursuant to this ¶ II(G) and shall state that a non-responsive attachment

           has been withheld from production. The requesting Party has the right to request




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            the production of any attachment withheld solely on the basis of non-

            responsiveness that the requesting Party believes in good faith is responsive. For

            such attachments, the requesting Party shall provide an explanation of why it

            believes the attachment is responsive.

     H.     Load Files: All production items will be provided with a delimited data file or

            “load file,” which will include both an image cross-reference load file (e.g., an

            Opticon file), as well as a metadata (.dat) file with the metadata fields identified in

            Appendix 1 on the document level to the extent available. The image cross-

            reference file must reference each TIFF in the corresponding production. The total

            number of documents referenced in a production’s data load file should match the

            total number of designated document breaks in the Image Load files in the

            production. All load files should be produced using standard Concordance

            delimiters.

     I.     Color: Documents or ESI containing color need not be produced initially in color.

            However, if an original document or ESI item contains color markings and it is

            necessary to see those markings in their original color to understand the meaning

            or content of the document, then the requesting Party may, in good faith, request

            that the document or ESI item be produced in its original colors. For such

            documents, the requesting Party shall provide a list of Bates numbers of the

            imaged documents sought to be produced in color. The production of documents

            and/or ESI in color shall be made in single-page JPEG format (300 DPI). All

            requirements for productions stated in this ESI Protocol Order regarding

            productions in TIFF format apply to any productions of documents and/or ESI in




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            color made in such an alternative format. Requests that a document be produced

            in color for the reasons set forth in this ¶ II(I) will not be unreasonably denied by

            the producing Party. If a producing Party wishes to object, it may do so by

            responding in writing and setting forth its objection(s) to the production of the

            requested document in color.

     J.     Confidentiality Designations: If a particular paper document or ESI item

            qualifies for confidential treatment pursuant to the Confidentiality Order entered

            by the Court in the Litigation, the designation shall be branded on the document’s

            image at a location that does not obliterate or obscure any part of the underlying

            images. To the extent reasonably possible, this designation also should be

            included in the appropriate data field in the load file. Failure to comply with the

            procedures set forth in this ESI Protocol Order shall not waive any protection or

            confidential treatment.

     K.     Production Media & Protocol: A producing Party may produce documents via

            email or via secure online transfer. Any requesting Party that is reasonably unable

            to resolve any technical issues with the electronic production method used for a

            particular production may request that a producing Party provide a copy of that

            production using Production Media, as described below in this ¶ II(K).

            A producing Party may also produce documents on readily accessible computer or

            electronic media, including a USB drive, DVD, or external hard drive (with

            standard PC compatible interface) (“Production Media”). All Production Media

            will be encrypted, and the producing Party will provide a decryption key to the

            requesting Party in a communication separate from the production itself. Each




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            piece of Production Media will be assigned a production number or other unique

            identifying label corresponding to the date of the production of documents on the

            Production Media, as well as the sequence of the material in that production. For

            example, if the production comprises document images on three external hard

            drives, the producing Party may label each hard drive in the following manner:

            “[PARTY] Production November 1, 2022-001,” “[PARTY] Production

            November 1, 2022-002,” and “[PARTY] Production November 1, 2022-003.”

            Where the Production Media used is an external hard drive (with standard PC

            compatible interface) or USB drive, such production media must be sent no

            slower than overnight delivery via FedEx, UPS, or USPS. Each item of

            Production Media (or, in the case of productions made via secure online transfer,

            each production transmittal letter) shall include (1) text referencing that it was

            produced in 568 Group Antitrust Litigation, (2) the production date, and (3) the

            Bates number range of the materials contained on such production media item.

            Any replacement Production Media will cross-reference the original Production

            Media and clearly identify that it is a replacement and cross-reference the Bates

            number range that is being replaced. The Parties shall designate the appropriate

            physical address for productions that are produced on Production Media.

            However produced, a producing Party shall provide clear instructions for

            accessing the production, including any necessary passwords or encryption keys.

III.   PAPER DOCUMENT PRODUCTION PROTOCOL

       A.   Coding Fields: The following information shall be produced in the load file

            accompanying production of paper documents: (a) BegBates, (b) EndBates, (c)




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            BegAttach, (d) EndAttach, (e) Custodian, (f) Confidentiality, and (g) Text Path.

            Additionally, all paper documents will be produced with a coding field named

            “Paper Document” marked with a “Y.”

      B.    Unitization of Paper Documents: The Parties shall use reasonable best efforts to

            ensure that paper documents, including those in files and binders, are logically

            unitized for production. When scanning paper documents for production, distinct

            documents shall not be merged into a single record and single documents shall not

            be split into multiple records to the greatest extent possible. The Parties will

            utilize best efforts to ensure that paper records for a particular Document

            Custodian are produced in consecutive Bates stamp order.

IV.   ESI METADATA FORMAT AND PROCESSING ISSUES

      A.    Excluded Files: ESI productions may be de-NISTed using the industry standard

            list of such files maintained in the National Software Reference Library by the

            National Institute of Standards & Technology as it exists at the time of de-

            NISTing. In addition, to conduct collections in a focused and efficient manner, the

            Parties also agree to exclude the following file types from collection: BIN, CAB,

            CHK, CLASS, COD, COM, DLL DRV, INF, INI, JAVA, LIB, and SYS. Other

            file types may be added to the list of excluded files by agreement of the Parties.

      B.    Metadata Fields and Processing:

            1.     Date and Time: No Party shall modify the date or time as contained in

                   any original ESI.

            2.     To the extent reasonably practicable, for any given Party, ESI items

                   produced by that Party shall be processed using a consistent time zone




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                  (e.g., GMT), and the time zone used shall be disclosed to the requesting

                  Party.

            3.    Auto Date/Time Stamps: To the extent reasonably practicable, ESI items

                  shall be processed so as to preserve the date/time shown in the document

                  as it was last saved, not the date of collection or processing.

            4.    Except as otherwise set forth in this ESI Protocol Order, ESI files shall be

                  produced with at least each of the data fields set forth in Appendix 1 that

                  can reasonably be extracted from a document.

            5.    The Parties are not obligated to manually populate any of the fields in

                  Appendix 1 if such fields cannot reasonably be extracted from the

                  document using an automated process, with the exception of the following

                  fields: (a) BegBates, (b) EndBates, (c) BegAttach, (d) EndAttach, (e) all

                  Custodians of the document, (f) Confidentiality, (g) Redacted (Y/N), and

                  (h) NativeLink fields, which should be populated, when applicable,

                  regardless of whether the fields can be populated pursuant to an automated

                  process.

     C.     Redaction:

            1.    The Parties agree that, where ESI items need to be redacted, they shall be

                  produced in TIFF format or may be redacted using a native redaction tool,

                  such as “Blackout” or “BlackBar,” with each redaction clearly indicated,

                  except in the case of personal database files (e.g., MS Access), which shall

                  be governed by ¶ II(C), supra. Any metadata fields reasonably available




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                  and unnecessary to protect the privilege protected by the redaction shall be

                  provided.

            2.    If the items redacted and partially withheld from production are Excel-

                  type spreadsheets as addressed in ¶ II(C), supra, and the native items are

                  also withheld, to the extent reasonably practicable, each entire ESI item

                  must be produced in TIFF format, including all unprivileged pages, hidden

                  fields, and other information that does not print when opened as last saved

                  by the custodian or end user. For PowerPoint-type presentation decks, this

                  shall include, but is not limited to, any speaker notes. For Excel-type

                  spreadsheets, this shall include, but is not limited to, hidden rows and

                  columns, all cell values, annotations, and notes. The producing Party shall

                  also make reasonable efforts to ensure that any spreadsheets produced

                  only as TIFF images are formatted so as to be legible where such

                  reformatting can be applied programmatically. For example, column

                  widths should be formatted so that the numbers in the column will display

                  rather than “##########.”

     D.     Email Collection and Processing:

            1.    Email Threading: Email threads are email communications that contain

                  prior or lesser-included email communications that also may exist

                  separately in the party’s electronic files. The Parties may use email

                  threading to avoid review and production of duplicative information

                  contained within an existing email thread in another document being

                  reviewed and produced, but under no circumstances will email thread




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                   suppression (a) eliminate the ability of a requesting Party to identify every

                   custodian who had a copy of a produced document or sent or received an

                   email, or (b) remove from a production any unique branches and/or

                   attachments contained within an email thread.

            2.     Email Domains: Uniquely identifiable categories of documents, such as

                   emails from domains typically associated with automated and spam email,

                   including but not limited to, fantasy sports-related emails, advertising,

                   subscriptions, and newsletters or alerts that do not concern higher

                   education may be excluded from any ESI search process.

     F.     Rolling Productions: The Parties agree to produce documents in phases on a

            rolling basis consistent with the Court’s Scheduling Order.

     G.     De-duplication: A producing Party may de-duplicate files globally (e.g., across

            document custodians) or horizontally at the “family” level. All BCC recipients

            whose names would have been included in the BCC metadata field, to the extent

            such metadata exists, but are excluded because of horizontal/global de-

            duplication, must be identified in the BCC metadata field specified in Appendix 1

            to the extent such metadata exists. In the event of rolling productions of

            documents or ESI items, the producing Party will, as needed, supplement the load

            files with updated CustodianOther information, as well as BCC information to the

            extent such metadata exists. Duplicate custodian information may be provided by

            a metadata “overlay” and will be provided by a producing Party after the Party

            has substantially completed its production of ESI.




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            1.      Duplicate electronic documents shall be identified by a commercially

                    accepted industry standard (e.g., MD5 or SHA-1 hash values) for binary

                    file content. All electronic documents bearing an identical value are a

                    duplicate group. The producing Party may produce only one document or

                    native file for duplicate ESI documents within the duplicate group to the

                    extent practicable. The producing Party is not obligated to extract or

                    produce entirely duplicate ESI documents.

            2.      Duplicate messaging files shall be identified by a commercially accepted

                    industry standard (e.g., MD5 hash values) for the email family, which

                    includes the parent and email attachments. Duplicate messaging materials

                    will be identified at a family level, including message and attachments(s).

                    Email families bearing an identical value are considered a duplicate group.

                    The producing Party may produce only one document or native file for

                    duplicate emails within the duplicate group to the extent practicable.

     H.     Zero-byte Files: The Parties may filter out stand-alone files identified as zero

            bytes in size.

     I.     Microsoft “Auto” Feature: To the extent reasonably practicable and

            technologically possible for a producing Party’s vendor, Microsoft Excel (.xls)

            and Microsoft PowerPoint (.ppt) documents should be analyzed for the “auto”

            features, where documents have an automatically updated date and time in the

            document, file names, file paths, or similar information that when processed

            would be inaccurate for how the document was used in the ordinary course of

            business. If “auto date,” “auto file name,” “auto file path,” or similar features are




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            identified, the produced document shall be branded with the words “Auto Date,”

            “Auto File Name,” or “Auto File Path” formula used or similar words that

            describe the “auto” feature.

     J.     Hidden Text: ESI items processed after the execution date of this ESI Protocol

            Order shall be processed, to the extent practicable, in a manner that preserves

            hidden columns or rows, hidden text, worksheets, speaker notes, tracked changes,

            and comments. At the time of production, all non-privileged hidden columns or

            rows, hidden text, worksheets, speaker notes, tracked changes, and comments

            should be visible on the face of the TIFF image(s).

     K.     Embedded Objects: Microsoft Excel spreadsheets embedded in Microsoft Word

            documents or Microsoft PowerPoint presentations will be extracted as separate

            documents and treated like attachments to the document. The Parties agree that

            other embedded objects, including, but not limited to, logos, icons, emoticons,

            and footers, may be culled from a document set and need not be produced as

            separate documents by a producing Party (i.e., such embedded objects will be

            produced as displayed within the document itself, rather than as separate

            attachments).

     L.     Compressed Files: Compression file types (i.e., .CAB, .GZ, .TAR, .z, and .ZIP)

            shall be decompressed in a reiterative manner to ensure that a zip within a zip is

            decompressed into the lowest possible compression resulting in individual folders

            and/or files.

     M.     Password-Protected, Encrypted, or Proprietary-Software Files: With respect

            to any ESI items that are password-protected or encrypted, the producing Party




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            will take reasonable steps to break the protection so that the documents can be

            reviewed and produced if appropriate. In the event that encrypted or password-

            protected documents, which are reasonably likely to be responsive to a document

            request, remain for a particular custodian after such reasonable efforts have been

            made, the producing Party shall advise the requesting Party. ESI that cannot be

            reviewed because proprietary software is necessary to view the ESI will be

            disclosed to a requesting Party, and the Parties shall meet and confer regarding the

            next steps, if any, with respect to such ESI.

V.   PARAMETERS FOR COLLECTING DOCUMENTS

     A.     Document Custodians: Based on the discovery requests served in this case on

            September 19, 2022, each Party has disclosed in writing an initial list of their own

            proposed document custodians (“Document Custodians”). If a Requesting Party

            contends that an additional Document Custodian should be added, then the Parties

            shall meet and confer in good faith and, in the event the parties are unable to

            reach agreement, the Requesting Party may seek relief from the Court.

     B.     Non-Custodial Documents and Shared Documents: Based on the discovery

            requests served in this case on September 19, 2022, each Party has disclosed in

            writing “Non-Custodial” document sources it believes, based on its investigation

            to date, may reasonably be likely to contain responsive information, including

            departmental files, shared drives, multi-user messaging platforms (or “chat”

            platforms), such as Slack or Microsoft Teams; cloud storage accounts; online

            repositories, social media accounts; intranets, and databases.




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      C.    Cellphones. For Document Custodians agreed on by the Parties or ordered by the

            Court, a producing Party will take reasonable steps to identify whether any unique

            responsive communications are located on any cellphones in the possession,

            custody, or control of the producing Party. To the extent reasonably possible,

            materials collected pursuant to this subparagraph shall be produced as image files

            with related searchable text, metadata and bibliographic information. If necessary

            to determine the identities of email or IM senders or recipients, the producing

            Party will provide a table of names or contact lists from custodians. Nothing in

            this subparagraph shall be construed as a determination on the appropriateness of

            cellphone discovery or any objections to cellphone discovery.

      D.    Search Terms. Defendants have proposed to Plaintiffs a preliminary list of

            general proposed ESI search terms. The Parties understand that these general

            search terms may be subject to further modification by the Parties, and that further

            Defendant-specific modifications (which will be disclosed) may be warranted. If

            Plaintiffs contend that the search terms should be modified, then the Parties shall

            meet and confer in good faith and, in the event the parties are unable to reach

            agreement, the either Party may seek relief from the Court.

VI.   CLAIMS OF PRIVILEGE AND REDACTIONS

      A.    Production of Privilege Logs: If a Party withholds a document (fully or in

            redacted form) otherwise discoverable by claiming that it is privileged, that Party

            shall produce a privilege log consistent with Rule 26(b)(5)(A) of the Federal

            Rules of Civil Procedure, and any applicable local rule or procedure. The

            privilege log must be detailed enough to enable other Parties to assess the




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            applicability of the privilege asserted and should include for each withheld

            document (1) the sender, recipient, and each individual copied or blind copied on

            the document, including names and email addresses, (2) the date the document

            was created and last modified, (3) the file name or email subject, as applicable,

            (4) the document extension (e.g., .msg, .pptx, etc.), (5) the Bates number or

            Control Number of the document, and (6) the reason that the privilege or

            protection is being asserted for the particular document. Unless the person’s email

            address is logged, the privilege log should identify all persons that are authors,

            senders, and/or recipients of any documents being withheld (fully or in redacted

            form) under any claim of privilege or protection, and denote (through a marking

            such as an asterisk or on a separate list) which individuals identified on the log are

            attorneys and what Party each such attorney represents. The privilege log shall be

            produced in XLS or XLSX format. To the extent possible, available file metadata

            may be used to complete the fields in the privilege log.

     B.     Logging of Threads. Parties shall log all emails in a thread and unique branches

            that are under a claim of privilege; provided, however, that a party is not required

            to log lesser-contained emails in a thread so long as (1) the topmost email is

            logged, (2) the description of the subject matter of the topmost email includes

            information sufficient to demonstrate the privilege, (3) the lesser-contained email

            is also independently privileged, and (4) the lesser-contained email does not

            reflect senders or recipients that are not also reflected on the topmost email in the

            thread. If all lesser-contained emails are not independently privileged, the

            topmost email thread must be redacted rather than withheld.




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     C.     Exclusions from Logging Potentially Privileged Documents: The following

            categories of Documents need not be reflected in a Producing Party’s privilege

            log, unless good cause exists to require that a Party do so or the Parties otherwise

            agree:

                     1.     Any communications exclusively between a producing Party and

                     its outside counsel, an agent of outside counsel other than the Party, any

                     non-testifying experts in connection with this Litigation, or with respect to

                     information protected by Fed. R. Civ. P. 26(b)(4), testifying experts in

                     connection with this Litigation.

                     2.     Communications after the filing of the initial complaint in this

                     Litigation, exclusively between a producing Party and its corporate in-

                     house and/or outside counsel regarding this Litigation.

     D.     Email Chains: If there is more than one unique branch of an email thread, each

            branch will be individually logged if independently responsive and claimed to be

            privileged or otherwise protected from discovery.

     E.     Documents Redacted for Privilege:

            [PLAINTIFFS’ PROPOSAL:] The producing Party will undertake reasonable

            efforts to make limited, line-by-line redactions of privileged or work product

            information and redacted documents will be noted as such in the Privilege Log.

            [DEFENDANTS’ PROPOSAL:] The producing Party will undertake reasonable

            efforts to make limited, line-by-line redactions of privileged or work product

            information. Redacted documents need not be logged in the first instance, so long

            as (a) for emails, the names of the sender and all recipients of the email are not




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            redacted, (b) for non-email documents, the redaction is noted on the face of the

            document and in a redaction metadata field, (c) the producing Party includes a

            metadata field (PrivRedacted) indicating that the document was redacted on the

            basis of privilege, so that the receiving Party can readily identify the universe of

            documents containing privilege redactions. If Party contends that an insufficient

            information appears on the face of a Redacted Document to determine the basis

            for the privilege, it may request that sufficient information be provided on a

            privilege log. In the event the parties are unable to reach agreement, the

            Requesting Party may seek relief from the Court.

VII.   NON-PARTY DOCUMENT REQUESTS

       A.   Non-Party Document Subpoenas: All non-Party document subpoenas shall be

            served on all counsel of record in compliance with Fed. R. Civ. P. 45. Service via

            email on a designated service list shall constitute compliance with Fed. R. Civ. P.

            45.

       B.   Non-Party Document Productions: The recipient of a non-Party document

            production shall serve a copy of that document production on all counsel of

            record within seven (7) days of receiving the document production. Service of

            documents or a file transfer link via email on a designated service list shall

            constitute compliance with this paragraph.

       C.   Informing Non-Parties of This Order: The Parties agree to provide a copy of

            this Order with any document subpoena served in this Litigation.

VIII. CLAWBACK ORDER




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     A.     Non-Waiver: Pursuant to Federal Rule of Evidence 502(d), the production of any

            material or information shall not be deemed to waive any privilege or work

            product protection in the Litigation or in any other federal or state proceeding.

            Nothing in this Paragraph VIII(A) is intended to or shall serve to limit a Party’s

            right to conduct a review of any material or information for relevance,

            responsiveness, and/or segregation of privileged and/or protected information

            before production, subject to ¶ VIII(B)(l) below. The provisions of Federal Rule

            of Evidence 502(b) do not apply.

     B.     Assertion of a Clawback: Any Party or non-Party may request the return of any

            produced material or information on the grounds of privilege or work product

            protection by identifying it and stating the basis for withholding such material or

            information from production.

            1.     Clawback Before Depositions: If a Party attempts to clawback a

                   document authored or received by an individual who is scheduled for a

                   deposition within thirty (30) calendar days of the date of the deposition,

                   and the propriety of the clawback is not resolved pursuant to ¶ VIII(C)(2)

                   prior to the date of the deposition, then the Parties will meet and confer on

                   the appropriate course of action, which may, but need not necessarily,

                   include:

                   a.      conferring prior to the deposition to determine if the document

                           may be used in the deposition subject to agreed-upon limitations;

                   b.      calling the Court if the clawback is made during the deposition to

                           determine if immediate resolution is possible; and/or




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                   c.      allowing the Party resisting the clawback to recall the deponent for

                           questioning the deponent related to the document at issue if the

                           Court subsequently determines the clawback was improper (if

                           exercised, recalling the deponent for this purpose will not count

                           against the total number of depositions or deposition hours to

                           which the Party resisting the clawback is entitled).

     C.     Clawback Process: Federal Rule of Civil Procedure 26(b)(5)(B) shall govern the

            clawback of produced documents or information on the grounds of privilege,

            work product protection, or the production of information in violation of the

            Confidentiality Order or FERPA Order. If a Party or non-Party requests the return

            of such produced material or information then in the custody of one or more

            Parties, the possessing Parties shall immediately sequester the material and within

            fifteen (15) calendar days:

            1.     Destroy or return to the requesting Party or non-Party the produced

                   material or information and all copies thereof, and expunge from any other

                   document or material, any information derived solely from the produced

                   material or information; or

            2.     Notify the producing Party or non-Party that it wishes to challenge the

                   claim of privilege or work product protection and has sequestered the

                   material until the issue can be resolved. A Party wishing to challenge a

                   claim of privilege shall inform the producing Party or non-Party of the

                   reasons for the challenge in writing. The Parties agree to meet and confer

                   regarding the claim of privilege. If, at the conclusion of the meet and




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                   confer process, the Parties are still not in agreement, they may bring the

                   issue to the Court. A Party challenging a clawback request under this

                   ¶ VIII(C)(2) may use the content of the clawed-back document for the

                   purpose of filing a motion with the Court under seal that challenges

                   whether or not the document is privileged or work product only.

      D.    Suspected Privileged Information: Nothing in this Order overrides any

            receiving Party attorney’s responsibilities to refrain from examining or disclosing

            materials that the attorney knows or reasonably should know to be privileged and

            to inform the producing Party that such materials have been produced. Any Party

            receiving materials that reasonably appear to be covered by a privilege shall not

            copy, distribute, or otherwise use such materials in any manner, except in

            connection with a challenge to the claim of privilege, and shall provide prompt

            notice in writing to the producing Party to afford an opportunity to request return

            of the materials.

IX.   MISCELLANEOUS PROVISIONS

      A.    Inaccessible ESI: If a producing Party asserts that certain categories of ESI that

            are reasonably likely to contain responsive information are inaccessible or

            otherwise unnecessary under the circumstances, or if the requesting Party asserts

            that, following production, certain ESI is not reasonably usable, the Parties shall

            meet and confer with their respective technology experts to discuss resolving such

            assertions. If the Parties cannot resolve any such disputes after such a meet and

            confer has taken place, the issue may be presented to the Court for resolution.




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     B.     Variations or Modifications: Variations from this ESI Protocol Order may be

            required. Any practice or procedure set forth herein may be varied by agreement

            of all affected Plaintiffs and all affected Defendants, which will be confirmed in

            writing. In the event a producing Party determines that a variation or modification

            is appropriate or necessary to facilitate the timely and economical production of

            documents or ESI, the producing Party will notify the requesting Party of the

            variation or modification. Upon request by the requesting Party, those Parties will

            meet and confer to address any issues in a reasonable and timely manner prior to

            seeking Court intervention.

     C.     Technology Assisted Review. If any Party intends to use Technology Assisted

            Review (“TAR”), such as predictive coding, to limit the number of documents

            that it reviews or produces, it shall notify the requesting Party in writing and

            identify the name and version number and a description of the TAR technology

            being used. If, following efforts to meet and confer, the Requesting Party objects

            to a Party’s use of TAR, the Requesting Party may seek relief from the Court.

     D.     Limitations. Nothing in this ESI Protocol Order establishes any agreement as to

            either the temporal or subject matter scope of discovery or as to the relevance or

            admissibility of any Document or ESI. Nothing in this ESI Protocol Order shall be

            interpreted to require disclosure of irrelevant information or relevant information

            protected by the attorney-client privilege, work product doctrine, or any other

            applicable privilege or immunity. The Parties do not waive any objections as to

            the production, discoverability, admissibility, or confidentiality of Documents and

            ESI.




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SO ORDERED:

Dated: ___________________
                                            Hon. Matthew F. Kennelly




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                        Appendix 1: ESI Metadata and Coding Fields

          Field Name1          Populated                     Field Description
                                   For
                              (Email, Edoc,
                                Calendar,
                                Contact,
                              Cellphone, or
                                   All)

    BegBates                  All             Control Numbers.
    EndBates                  All             Control Numbers.
    BegAttach                 All             Control Numbers (First production Bates
                                              number of the first document of the family).
    EndAttach                 All             Control Numbers (Last production Bates
                                              number of the last document of the family).
    Custodian                 All             Custodian name (ex. John Doe).
    CustodianOther or         All             All custodians who were in possession of a de-
    CustodianAll                              duplicated document besides the individual
                                              identified in the “Custodian” field.
    LogicalPath               All ESI Items   The directory structure of the original file(s).
                                              Any container name is included in the path.
    Hash Value                All             The MDS or SHA-1 hash value.
    NativeFile                All             Native File Link.
    Email Thread ID           Email           Unique identification number that permits
                                              threading of email conversations. For instance,
                                              unique MS Outlook identification number
                                              (“PR_CONVERSATION_INDEX”) is 22 bytes
                                              in length, followed by zero or more child blocks
                                              each 5 bytes in length, that facilitates use of
                                              email threading.
    Thread Index              Email           Message header identifier, distinct from “PR_
                                              Conversation_ Index”, that permits threading of
                                              Email chains in review software.
    Email Subject             Email           Subject line of email.
    DateSent                  Email           Date email was sent.
    DateMod                   Email, Edoc     Date the document was modified.
    TimeSent                  Email           Time email was sent.
    TimeZoneUsed              All             Time zone used to process data during
                                              document collection and processing.
    ReceiveTime               Email           Time email was received.


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  Field Names can vary from system to system and even between different versions of
systems. Thus, Parties are to be guided by these Field Names and Descriptions when identifying
the metadata fields to be produced for a given document pursuant to this ESI Protocol Order.

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To                       Email          All recipients that were included on the “To”
                                        line of the email.
From                     Email          The name and email address of the sender of
                                        the email.
CC                       Email          All recipients that were included on the “CC”
                                        line of the email.
BCC                      Email          All recipients that were included on the “BCC”
                                        line of the email.
DateCreated              Edoc           Date the document was created.
FileName                 Email, Edoc    File name of the edoc or email.
Title                    Edoc           Any value populated in the Title field of the
                                        document properties.
Subject                  Edoc           Any value populated in the Subject field of the
                                        document properties.
Author                   Edoc           Any value populated in the Author field of the
                                        document properties.
NativeLink               Native Files   Link to edoc produced as native file.
DocExt                   All            File extension of the document.
TextPath                 All            Relative path to the document level text file.
Redacted                 All            “X,” “Y,” “Yes,” and “True” are all acceptable
                                        indicators that the document is redacted.
                                        Otherwise, blank.
PrivRedacted             All            “X,” “Y,” “Yes,” and “True” are all acceptable
                                        indicators that the document is redacted on the
                                        basis of privilege.
                                        Otherwise, blank.
Paper                    All            “Y” if document is scanned from hard copy in
                                        connection with the collection and production
                                        of documents in this matter.
Confidentiality          All            Indicates if document has been designated as
                                        “Confidential” or “Highly Confidential” under
                                        the Protective Order.




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